 Case: 1:19-cv-02170 Document #: 1763 Filed: 06/08/23 Page 1 of 7 PageID #:41616




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 IN RE: ETHIOPIAN AIRLINES FLIGHT ET
 302 CRASH                                             Lead Case: 1:19-cv-02170

 This Document Relates To:                             Judge Jorge L. Alonso

 JOHN BARASA ZATA, Individually as                     Magistrate Judge M. Davis Weisman
 Surviving Spouse, and as Special
 Representative and Special Administrator of
 the Estate of KAROLINE AADLAND,
 Deceased, and on behalf of all Surviving
 Beneficiaries

 Case No.: 1:19-cv-05103


               AGREED MOTION FOR SETTLEMENT APPROVAL AND
                        DISMISSAL WITH PREJUDICE

       Plaintiff, JOHN BARASA ZATA, Individually as Surviving Spouse, and as Special

Representative and Special Administrator of the Estate of KAROLINE AADLAND, Deceased,

and on behalf of all Surviving Beneficiaries, by his undersigned attorneys respectfully move this

Court for an order approving the settlement of all claims relating to the death of Karoline Aadland

(the “Decedent”), and dismissing those claims with prejudice, and in support thereof state as

follows:

                                               FACTS

       1.      Decedent was a passenger on board a Boeing 737 MAX 8 aircraft, registered as ET-

AVJ (the “Subject Aircraft”) and operated by Ethiopian Airlines as Flight ET302 from Addis

Ababa, Ethiopia to Nairobi, Kenya on March 10, 2019.

       2.      Flight ET302 crashed in Ethiopia shortly after takeoff, killing all 157 persons

aboard the aircraft, including the Decedent.




                                                 1
 Case: 1:19-cv-02170 Document #: 1763 Filed: 06/08/23 Page 2 of 7 PageID #:41617




       3.      Plaintiff, JOHN BARASA ZATA was appointed Wrongful Death Special

Administrator of the Estate of KAROLINE AADLAND by the Circuit Court of Cook County,

Illinois, County Department, Law Division, pursuant to 740 ILCS 180/2.1 on July 24, 2019, and

Special Representative of the Estate of KAROLINE AADLAND by the Circuit Court of Cook

County, Illinois, County Department, Law Division, pursuant to 735 ILCS 5/13-209, on January

20, 2021.

       4.      Plaintiffs asserted wrongful death and survival actions arising out of the death of

the Decedent in the crash of ET302 and on behalf of Decedent’s Estate, heirs, and wrongful death

beneficiaries, which includes the following:

            a. John Barasa Zata (husband)

            b. Knut Aadland (father)

            c. Marianne Aadland (mother).

       5.      Plaintiff’s attorneys have thoroughly investigated this matter and are intimately

familiar with the facts and circumstances of this case, including Plaintiff JOHN BARASA ZATA’s

and Decedent’s parents’ damages, Defendants’ legal defenses, relevant legal authorities in both

Illinois and abroad, and the evidence in discovery to date. Plaintiff’s counsel has adequately

evaluated all aspects of this matter on behalf of Plaintiff and the Decedent’s Estate, heirs, and

wrongful death beneficiaries.

                                PLAINTIFF’S ALLEGATIONS

       6.      Plaintiff filed his complaint on July 29, 2019, and subsequently adopted the Master

Compliant filed in the Lead Case in this consolidated matter alleging negligence, breach of

warranty and strict products liability claims against Defendant. Plaintiff’s present operative




                                                2
 Case: 1:19-cv-02170 Document #: 1763 Filed: 06/08/23 Page 3 of 7 PageID #:41618




pleading, his First Amended Short Form Complaint and Notice of Adoption of Master Complaint,

was filed on March 9, 2021.

         7.    Plaintiff alleges, among other things, that Defendant The Boeing Company

designed, manufactured, assembled and sold the Subject Aircraft.

         8.    Plaintiff alleges that the Subject Aircraft was defective and negligently designed,

manufactured and/or assembled.

         9.    Plaintiff alleges that as a direct and proximate result of this alleged defective

condition, and negligent design, manufacture and assembly, the Subject Aircraft crashed into

terrain near Addis Ababa, Ethiopia, resulting in the death of the Decedent.

         10.   Plaintiff further alleges that as a direct and proximate result of the alleged defective

condition, and negligent design, manufacture and assembly of the Subject Aircraft, Plaintiff and

Decedent’s heirs, and wrongful death beneficiaries have suffered loss of support, loss of net

accumulations, loss of household services, loss of care, comfort, companionship, guidance and

society, mental anguish, grief and sorrow, as well as various other damages as a result of the death

of the Decedent.

                                 PLAINTIFF’S DAMAGES

         11.   Decedent Karoline Aadland was 28 years old at the time of her death. The

Decedent was employed by the Norwegian Red Cross, and was travelling onboard Flight ET302

for work.

         12.   The Decedent is survived by her husband and parents, identified in paragraph 4

above.

                                DEFENDANT’S POSITION


         13.   Defendant Boeing agrees and stipulates, for purposes of this consolidated litigation



                                                  3
  Case: 1:19-cv-02170 Document #: 1763 Filed: 06/08/23 Page 4 of 7 PageID #:41619




only, that it is liable to Plaintiff and Plaintiff’s Decedent’s next of kin for all compensatory

damages resulting from the death of Plaintiff’s Decedent. (Dkt. #1217-1).

                                  SETTLEMENT AGREEMENT

           14.   Plaintiff and Defendant engaged in mediation before retired Cook County Circuit

Court Chief Judge O’Connell and have reached an agreement to settle all the claims of Plaintiff

(including Plaintiff’s claims on behalf of Decedent’s Estate, heirs, and wrongful death

beneficiaries) against all Defendants.

           15.   As a condition of the settlement, the parties have agreed to keep the amount of the

settlement confidential.

           16.   A sealed declaration providing the terms of the settlement and allocation of

proceeds will be provided to the Court separately and filed under seal.

           17.   In connection with mediation of these claims and in the course of negotiating

settlement, Plaintiff’s counsel considered the strength of Plaintiff’s claims against the Defendants,

Defendants’ asserted defenses, and various other relevant factors.

           18.   Plaintiff’s counsel has extensive experience representing international aviation

disaster victims’ families, and specialize in aviation litigation. Plaintiff’s counsel believes the

settlement amount to be fair and reasonable based on their experience and all the above-stated

considerations.

           19.   Retired Chief Judge O’Connell has a great deal of experience as a judge and

mediator in aviation matters, and also believes this settlement to be fair and reasonable for all

parties.

           20.   Plaintiff’s counsel has fully explained all the above facts to Plaintiff and

Decedent’s heirs and wrongful death beneficiaries, and they agree that the settlement amount is




                                                  4
 Case: 1:19-cv-02170 Document #: 1763 Filed: 06/08/23 Page 5 of 7 PageID #:41620




fair and reasonable.

       21.     Plaintiff’s counsel conferred with counsel for Defendant Boeing, and counsel for

Defendant stated Boeing agrees with the relief requested herein.

       22.     Accordingly, Plaintiff seeks the Court’s approval of this settlement.



       WHEREFORE, the Parties pray that this Court enter an Order:

     a. Finding that the undersigned, Justin T. Green, Kreindler & Kreindler LLP and local

        counsel Smith LaCien LLP have appropriately represented the interests of Plaintiff and

        the Decedent’s Estate, heirs and wrongful death beneficiaries, and that Plaintiff JOHN

        BARASA ZATA has in turn competently served as Special Administrator and Special

        Representative;

     b. Approving on behalf of the Decedent’s Estate, heirs, and wrongful death beneficiaries

        the settlement of all claims against Defendant resulting from the death of Decedent

        Karoline Aadland aboard Flight ET302 (including Plaintiff’s claims on behalf of

        Decedent’s Estate, heirs and all surviving beneficiaries);

     c. Dismissing Plaintiffs’ action with prejudice and without costs against any party; and,

     d. Providing Plaintiff with such other relief as this Court may deem just.




 Dated: June _8_, 2023                               Respectfully submitted,

                                                     By: /s/ Justin T. Green
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                                                5
Case: 1:19-cv-02170 Document #: 1763 Filed: 06/08/23 Page 6 of 7 PageID #:41621




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                                      6
 Case: 1:19-cv-02170 Document #: 1763 Filed: 06/08/23 Page 7 of 7 PageID #:41622




                               CERTIFICATE OF SERVICE

        I hereby certify that on June 8 , 2023, I electronically filed the foregoing AGREED
MOTION FOR SETTLEMENT APPROVAL AND DISMISSAL WITH PREJUDICE with
the Court using the CM.ECF system, which will send notification of such filing to all attorneys
of record.


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                                               7
